            Case 1:20-cv-00252-SPB Document 3 Filed 09/02/20 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                ERIE DIVISION

                                             :
                                             :
 HANNAH SILBAUGH,                            :   CIVIL ACTION – LAW
     Plaintiff                               :
                                             :   Docket No. 1:20-cv-00252-SPB
 v.                                          :
                                             :   Electronically Filed
                                             :
 MARC NELSON, DAVID SMITH,                   :   JURY TRIAL OF 12 DEMANDED
 ANTHONY ATTALLA, JOHN DOE 4,                :
 JOHN DOE 5, DANIEL SPIZARNY,                :
 JOSEPH V. SCHEMBER, and CITY OF             :
 ERIE,                                       :
       Defendants                            :


      PLAINTIFF’S RESPONSE OBJECTING TO DEFENDANTS’ REQUEST FOR
                           EXTENSION OF TIME

       NOW COMES the Plaintiff, Hannah Silbaugh, by counsel and responds to the

Defendants’ Motion for Extension of Time to File response to Plaintiff’s Complaint,

respectfully representing:

       1.      Admitted that Plaintiff filed the Complaint in the Court of Common Pleas

of Erie County and that Defendants have filed a copy in this Court.

       2.      The averments of Paragraph 2 are completely irrelevant to any

consideration of this Motion. Defendants have been aware of this case and their need to

defend it since the event occurred on May 30th. Had Plaintiff filed her Complaint in the

United States District Court, she would have served it by Constable in order to shorten

the time for a response.

       3.      Defendants have made no effort to discuss any alleged deficiencies in

Plaintiff’s Complaint. Plaintiff submits that her Complaint fully states causes of action
           Case 1:20-cv-00252-SPB Document 3 Filed 09/02/20 Page 2 of 3




and that the filing of any Motion to Dismiss would merely be dilatory, especially given

the dilatory nature of the pending Motion.

      4.      Admitted.

      5.      It is admitted that the Compliant names Mayor Schember as a Defendant

based on his personal failure to enforce or formulate constitutional policies governing

Use of Force procedures, for which he is personally responsible, and the Chief of Police

is named as a Defendant based upon the fact that he was in charge of the Bureau of

Police’s response to the demonstration occurring on May 30th and is personally required

to plan and properly execute such a response, and failed to do that.

      6.      Denied.

      7.      While Defendants no doubt have intentions, they have had plenty of

opportunity to communicate with counsel for Plaintiff and have done nothing but

request additional time to respond to the very simple and obvious facts set forth in the

Complaint. Defendants have not identified any deficiency in the Complaint.

      8.      Defendants have had plenty of opportunity to confer and have failed to do

so. The causes of action in the Complaint are available in any hornbook on civil rights

law. The appropriate response would be to admit the deficiencies in the City’s response

to the peaceful demonstration in which Plaintiff participated, remedy its constitutionally

defective procedures and compensate the Plaintiff appropriately for the damages she

has sustained.

      9.      Plaintiff has not been asked to amend her Complaint. Should Plaintiff

amend her Complaint, the Federal Rules of Civil Procedure set forth the appropriate

period of time for Defendants to respond.


                                             2
             Case 1:20-cv-00252-SPB Document 3 Filed 09/02/20 Page 3 of 3




       10.      Defendants’ request for an additional sixty days is simply unjustified. It is

clear that Defendants intend to delay the disposition of this case as long as they can.

while that may be prudent, given their obvious liability, it is not fair to the Plaintiff to

delay her case for no reason other than that the Defendants do not want to deal with it.

       11.      It is admitted that there was a brief discussion of an extension of time, but

no specific request was made and Plaintiff referred to the Rules, which provide time

limits for response.

       12.      In reviewing Defendants’ Motion, it is obvious that the Defendants have

not presented any exceptional circumstance or hardship preventing a timely response.

       13.      Given that there is no reason to extend the time to respond, much less

delay the disposition of this case for an additional two months, Defendants’ Motion

should be denied.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court deny

Defendants’ Motion to Extend the Time to Response to Plaintiff’s Complaint.




                                            Respectfully submitted,


                                            MCNAIR LAW OFFICES, PLLC


                                            By:    s/ Timothy D. McNair__________
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